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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

CHARLES EDWARD SCOTT,                       §
                                            §
       Plaintiff,                           §
                                            §
v.                                          §     Civil Action No. 4:22-cv-00447-O-BP
                                            §
FEDERAL SECURITY,                           §
                                            §
       Defendant.                           §

     ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

in this case. No objections were filed, and the Magistrate Judge’s Recommendation is ripe for

review. The District Judge reviewed the proposed Findings, Conclusions, and Recommendation

for plain error. Finding none, the undersigned District Judge believes that the Findings and

Conclusions of the Magistrate Judge are correct, and they are accepted as the Findings and

Conclusions of the Court.

       Accordingly, it is ORDERED that this action is DISMISSED without prejudice pursuant

to Federal Rule of Civil Procedure 41(b).

       SO ORDERED this 24th day of June, 2022.


                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
